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 1   CANDACE A. FRY
     CA Bar No. 68910
 2   2401 Capitol Avenue
     Sacramento, CA 95816
 3   Telephone: (916) 446-9322
     FAX: (916) 446-0770
 4
     Attorney for Robert A. Porter,
 5   Defendant
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No.   2:05-cr-0052-MCE
                                     )
12                  Plaintiff,       )     STIPULATION AND ORDER CONTINUING
                                     )     MOTION BRIEFING SCHEDULE AND
13        v.                         )     HEARING ON MOTIONS
                                     )
14   ROBERT A. PORTER, MARC A. HILL, )
     and ORION S. PORTER,            )
15                                   )
                    Defendants.      )
16                                   )
17
18        The parties in the within matter, by and through their respective
19   counsel, hereby stipulate and agree that the schedule for pretrial
20   motions and the hearing date on the motions will be continued for one
21   month, as follows:    defense pretrial motions shall be filed by April
22   25, 2006, Government's opposition due filed by May 9, 2006, defense
23   reply due filed by May 16, 2006, and a non-evidentiary hearing on the
24   motions set for May 23, 2006, at 8:30 a.m.       The parties acknowledge
25   that depending on the number of motions filed, the Court reserves the
26   right to move the time for hearing on the motions to a later date.
27        The purpose of this continuance is to allow the Government
28   sufficient time to obtain, and the defense to review, the results of


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 1   fingerprint analysis of certain items of evidence, which results will
 2   affect the facts and import of the pretrial motions.            The parties
 3   further stipulate and agree to continue exclusion of time from date of
 4   last status conference on February 28, 2006, through date of filing
 5   defense motions on April 25, 2006, for adequate preparation of counsel
 6   pursuant to 18 U.S.C. §3161(h)(B)(iv) (Local Code T-4).
 7
 8   Dated:    March 14, 2006                        /s/ CANDACE A. FRY
                                                     CANDACE A. FRY, Attorney for
 9                                                   ROBERT A. PORTER, Defendant
10   Dated:    March 14, 2006                        McGREGOR W. SCOTT
                                                     United States Attorney
11
12                                               By /s/ CANDACE A. FRY for
                                                    ANNE PINGS,
13                                                  Assistant U.S. Attorney
14   Dated:    March 14, 2006                        /s/ CANDACE A. FRY for
                                                     ROBERT M. HOLLEY, Attorney for
15                                                   ORION S. PORTER, Defendant
16
17   Dated:    March 14, 2006                        /s/ CANDACE A. FRY for
                                                     SCOTT L. TEDMON, Attorney for
18                                                   MARC A. HILL, Defendant
19                                                   (Signed for Ms. Pings, Mr. Holley
                                                      and Mr. Tedmon with their prior
20                                                    authorization)

21                                        O R D E R
22        IT IS SO ORDERED.
23   Dated: March 15, 2006
24
25
                                             _____________________________
26
                                             MORRISON C. ENGLAND, JR
27                                           UNITED STATES DISTRICT JUDGE

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